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        Exhibit A
        Case 2:18-cr-00422-DJH Document 1439-1 Filed 12/13/21 Page 2 of 5


From:            Stone, Andrew (USAAZ)
To:              Elaine Garcia
Cc:              Thomas H. Bienert; Whitney Bernstein; Paul Cambria; Erin McCampbell Paris; Gopi K. Panchapakesan; Ariel A.
                 Neuman; Gary S. Lincenberg; Bruce Feder; "david@deisenbergplc.com"; joy.bertrand_gmail.com; Rapp, Kevin
                 (USAAZ); Kozinets, Peter (USAAZ); Perlmeter, Margaret (USAAZ); Jones, Reginald (CRM); Boyle, Daniel
                 (USACAC)
Subject:         RE: United States v. Lacey et al: Witnesses and Exhibits
Date:            Friday, September 10, 2021 6:10:10 PM


Good Evening,

Here is the United States’ plan for witnesses on Monday. After Agent Fichtner concludes, the
prosecution will call Dr. Sharon Cooper. We don’t plan on admitting any exhibits through Dr.
Cooper.

After Dr. Cooper testifies, the United States will call Tera Mackey and then Christina Decoufle.

Thanks,
Andy


From: Stone, Andrew (USAAZ) <AStone1@usa.doj.gov>
Sent: Thursday, September 9, 2021 7:52 AM
To: Elaine Garcia <Elaine_Garcia@azd.uscourts.gov>
Cc: Thomas H. Bienert <tbienert@bienertkatzman.com>; Whitney Bernstein
<wbernstein@bklwlaw.com>; Paul Cambria <pcambria@lglaw.com>; Erin McCampbell Paris
<emccampbell@lglaw.com>; Gopi K. Panchapakesan <gkp@birdmarella.com>; Ariel A. Neuman
<aneuman@birdmarella.com>; Gary S. Lincenberg <glincenberg@birdmarella.com>; Bruce Feder
<bf@federlawpa.com>; 'david@deisenbergplc.com' <david@deisenbergplc.com>;
joy.bertrand_gmail.com <joy.bertrand@gmail.com>; Rapp, Kevin (USAAZ) <KRapp@usa.doj.gov>;
Kozinets, Peter (USAAZ) <PKozinets@usa.doj.gov>; Perlmeter, Margaret (USAAZ)
<MPerlmeter@usa.doj.gov>; Jones, Reginald (CRM) <Reginald.Jones4@usdoj.gov>; Boyle, Daniel
(USACAC) <DBoyle@usa.doj.gov>
Subject: RE: United States v. Lacey et al: Witnesses and Exhibits

Good Morning,

Here is an update on witnesses. The government will call Tera Mackey after Mr. Fichtner’s
testimony concludes. Next will be Jessica Svendgard and Nacole Svendgard. Tomorrow, after Ms.
Svendgard finishes, the government will call Christina Decoufle.

We don’t anticipate that another witness will be necessary this week, but in an abundance of
caution, if another witness is necessary the government will call Matt Frost. The exhibits to be
offered through Mr. Frost are the following: 218, 219, 1599, 1600, 1600a-f, 1601, 1602, 1602a-e,
1603, 1603a-e, 1546, 1547, 1782a-s, 1784, 1784a-d, 1785, 1785a-d, 1822, 1823, and 1823a-c.

Thanks,
Andy
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From: Stone, Andrew (USAAZ) <AStone1@usa.doj.gov>
Sent: Wednesday, September 8, 2021 8:15 AM
To: Elaine Garcia <Elaine_Garcia@azd.uscourts.gov>
Cc: Thomas H. Bienert <tbienert@bienertkatzman.com>; Whitney Bernstein
<wbernstein@bklwlaw.com>; Paul Cambria <pcambria@lglaw.com>; Erin McCampbell Paris
<emccampbell@lglaw.com>; Gopi K. Panchapakesan <gkp@birdmarella.com>; Ariel A. Neuman
<aneuman@birdmarella.com>; Gary S. Lincenberg <glincenberg@birdmarella.com>; Bruce Feder
<bf@federlawpa.com>; 'david@deisenbergplc.com' <david@deisenbergplc.com>;
joy.bertrand_gmail.com <joy.bertrand@gmail.com>; Rapp, Kevin (USAAZ) <KRapp@usa.doj.gov>;
Kozinets, Peter (USAAZ) <PKozinets@usa.doj.gov>; Perlmeter, Margaret (USAAZ)
<MPerlmeter@usa.doj.gov>; Jones, Reginald (CRM) <Reginald.Jones4@usdoj.gov>; Boyle, Daniel
(USACAC) <DBoyle@usa.doj.gov>
Subject: RE: United States v. Lacey et al: Witnesses and Exhibits

The government anticipates calling the following two witnesses this week:

Jessica Svendgard
211-c

Nacole Svendgard
No exhibits

We just learned that Tera Mackey has experienced some travel issues and will not be flying back to
Phoenix this week (she was here and ready to testify last week). Brian Fichtner will be the first
witness the government calls after Defendants finish their opening statements.

Thanks,
Andy


From: Stone, Andrew (USAAZ) <AStone1@usa.doj.gov>
Sent: Tuesday, August 31, 2021 5:10 PM
To: Elaine Garcia <Elaine_Garcia@azd.uscourts.gov>
Cc: Thomas H. Bienert <tbienert@bienertkatzman.com>; Whitney Bernstein
<wbernstein@bklwlaw.com>; Paul Cambria <pcambria@lglaw.com>; Erin McCampbell Paris
<emccampbell@lglaw.com>; Gopi K. Panchapakesan <gkp@birdmarella.com>; Ariel A. Neuman
<aneuman@birdmarella.com>; Gary S. Lincenberg <glincenberg@birdmarella.com>; Bruce Feder
<bf@federlawpa.com>; 'david@deisenbergplc.com' <david@deisenbergplc.com>;
joy.bertrand_gmail.com <joy.bertrand@gmail.com>; Rapp, Kevin (USAAZ) <KRapp@usa.doj.gov>;
Kozinets, Peter (USAAZ) <PKozinets@usa.doj.gov>; Perlmeter, Margaret (USAAZ)
<MPerlmeter@usa.doj.gov>; Jones, Reginald (CRM) <Reginald.Jones4@usdoj.gov>; Boyle, Daniel
(USACAC) <DBoyle@usa.doj.gov>
Subject: United States v. Lacey et al: Witnesses and Exhibits

Ms. Garcia,
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In accordance with the Court’s Order (Doc. 1211), the government plans on calling the following
three witnesses this week. In addition, I’ve listed the exhibits that we may introduce through each
witness and the AUSA who will be examining the witness. For ease, I’ve also attached the
government’s witness list.

   1. Brian Fichtner (number 20 on witness list) – examined by AUSA Kozinets
                  Exhibits
                         489a               
                         489b
                         489c
                         490a
                         490b
                         490c
                         490d
                         490e
                         1635
                         1636a
                         1636b
                         1636c
                         1636d
                         1636e
                         1636f
   2. Tera Mackey (number 48 on witness list) – examined by AUSA Perlmeter
                  Exhibits
                         1550-1557
                         490a
                         490c
                         490d
                         490e
   3. Christina Decoufle (number 16 on witness list) – examined by AUSA Perlmeter
                  Exhibits
                         1797
                         1798

Please let us know if you have any questions.

Thanks,
Andy

Andrew C. Stone
Assistant United States Attorney
District of Arizona
602-514-7635
Andrew.stone@usdoj.gov
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